           Case
%A0 245C (Rev 0610514:06-cr-40029-JPG                Document 339
                    Amended Judgment in a Criminal Case                                    Filed 11/01/07                Page(NOTE:
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                                                                                #736

                                                   UNITEDSTATES
                                                              DISTRICTCOURT
                                     SOUTHERN                               District of                                           ILLINOIS

                  UNITED STATES OF AMERICA                                            AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.
                                                                                      Case Number: 4:06CR40029-02-JPG
                           TONY E. BAKER, J R
                                                                                      USM Number: 30075-424
Date of Original Judgment:                        9/6/2007                            Mark C. Hunter
(Or Date of Last Amended Judgment)                                                    Defendant's Attorney
Reason for Amendment:
     Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                           Modification of Supervision Conditions (18 U.S.C. $5 3563(c) or 3583(e))
     Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   [7 Modification of Imposed Term of Imprisonment for Exhaordinaly and
     P. 35(b))                                                                           Compelling Reasons (I8 U.S.C. 5 3582(c)(l))
     Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                      Modification of Imposed Term of Imprisonment for Retroactive Amendmenqs)
                                                                                              to the Sentencing Guidelines (18 U.S.C. 5 3582(c)(2))
U ~ o r r e c t i o nof Sentence far Clerical Mistake (Fed. R. Crim P.36)
                                                                                              Direct Motion to District Court Pursuant     28 U.S.C. 5 2255 or
                                                                                                  18 U.S.C. 6 3559(c)(7)
                                                                                              Modification of Restitution Order (18 U.S.C. 5 3664)

THE DEFENDANT:
&f pleaded guilty to count(s)                   1 Of the 4th Supersedinc
[7 pleaded nolo contendere to count(s)
    which was accepted by the court.
                                                                                                       W &&I        Li
[7 was found guilty on count(s)                                                   /"&I,                            a
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                               Xature of Offense
                                                                                             ' 2007
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                                                                                          :-+,:,
                                                                                                 ..(-
                                                                                                    .?%:.                     Offense I.:ndcd

    21 U.S.C. k6                              : Cmrp~rak$&&l~iin~te'50      Gram or M?8&f%&&s                     Bau          W2TI2W6                       1wtts'

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        l'he'det,endatlt is sentenced as provided in pages 2 through                  10              of this judgment. 'lhe sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)
     Count(s)                                            [7 is     are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States Attomey for this district within 30 days of an). change of name, resjdence.
or mailing address unul all tines, rcsutuuon, costs, and spec~alassessments Imposed by thlsjudfment are tully pa~d.Ifordered to pay restlrutlon,
thc IlefcnJimt must notify the coun and United States artorney of material changes in economic circumstances.
                                                                              11/1/2007
                                                                             Date of Imposition of Judgment




                                                                                          J. Phll wlbert                                 District Judge
                                                                                                                                         Title of Judge
                                                                                                                         /,    k,
                                                                                                                                7
                                                                                      Date
 A 0 245C   Case     4:06-cr-40029-JPG
            (Rev.06/05)                             Document
                        Amended Judgment in a Criminal Case  339 Filed 11/01/07                    Page 2 of 6          Page ID
            Sheet 2 -imprisonment                             #737                                      (NOTE: Identify Changes with Asterisks (*))


 DEFENDANT: TONY E. BAKER, JR.
                                                                                                     Judgment- Page   2of                  10
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                                                           IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
*I20 months on Count 1 of the Fourth Superseding Indictment



      The court makes the following recommendations to the Bureau o f Prisons:




 cid The defendant is remanded to the custody of the United States Marshal
      The defendant shall surrender to the United States Marshal for this district:
            at                                          a.m         p.m.      on
            as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            before 2 p.m. on
            as notified by the United States Marshal.
            as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                         to

 at                                                     with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                        BY
                                                                                            DEPUTY UNITED STATES MARSHAL
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             (Rev. 06105) Amended Judgment in a Criminal Case
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             Sheet 3 -Supervised Release                      #738                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                                            -                 .-
 DEFENDANT: TONY E. BAKER,JR.
                                                                                                       Judgment-Page    3of                  10

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                                                      SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall he on supervised release for a term of
5 years on Count 1 of the 4th Superseding Indictment.



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release &om
 the custody ofthe Bureau of Pnsons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su?omit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determmed by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule ofJpayments sheet of thls judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permission of the court or probation off~ceq
   2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation off~cee
   4) the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6 ) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive usc of alcohol and shall not purchase, posscss. use. Jjnribute, or admjnister any
       controlled hubstance or an! paraphernalia related to any controlled suhstances. except as prcscr~hrdb) a ph)slcwn;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate.with any persons enga ed in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permlsslon to do so by the pro%ationofficer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officerwithin seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the robation officer, the defendant shall notify third parties ofrisks that may be occasionedb the defendant's criminal
         record personal {istory, or characteristics and shall permit the probation officer to make such notltfcatious and confirm the
         defendant's compliance with such notlficatlon requirement.
A 0 245C
            Sheet 3C   -
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                           Supervised ~ e i e a s e


DEFENDANT: TONY E. BAKER, JR.
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                                                                                                             4 0 f                10



                                               SPECIAL CONDITIONS OF SUPERVISION
X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
search pursuant to this condition.

X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
ten percent of his net monthly income whichever is greater.

X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.

X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation officer of the receipt of any indicated monies.

X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.

X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
deposits into the defendant's inmate trust account; however, if the account balance is less than $20.00, no payment shall
berequired.

X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
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                            sheet 5 -Criminal Monetary Penalties               #740                                                                                                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                                                                                                                       Judgment - Page   -
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      DEFENDANT: TONY E. BAKER, JR.
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                                                                        CRIMINAL MONETARY PENALTIES
         The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                                   -
                                                                    Fine                               Restitution
      TOTALS        $ 100.00                                    $ 200.00                            $ 0.00



             The determination of restitution is deferred until                                                                                             . An Amended Judgment in a Criminal Case ( A 0 245C) will be
             entered after such determination.

             The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

             If the defendant makes a partial payment, each payee shall receive an approximatel pro ortioned ayment, unless spe,,ified otherwise
             In the pnorl order or percenta e payment column below. However, pursuant to 18 ?I.s.$ 5 3664(ifl all nonfederal vlctuns must be paid
             before the g i t e d States is paif

      Name of Payee                                                                                                             Total Loss*                          Kestitution Ordered                                                 Priorit! o r Percentage
             ,(#$$:*.                                           .; ' #:<4d,, .,           '..                                       ' , , "'8l'*ir ,., , . . ,1 . , ..
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      TOTALS                                                                                                                     $                                                               $

              Restitution amount ordered pursuant to plea agreement $

              The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
              fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
              to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

              The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
              @ the interest requirement is waived for                                               I$          fine                                 restitution.
                            the interest requirement for                                        fine                                        restitution is modified as follows:


      * Findings for the total amount of losses are required under Chapters 109A, 1 10, 1IOA, and 113A of Title 18 for offenses committed on or
      after September 13, 1994, but before Apr1123, 1996.
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A 0 245C     (Rev. 06105) Amended Judgment in a Criminal Case
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             Sheet 6 -Schedule   of Pavments                                                                 (NOTE: Identifv Chanees with Asterisks i*))


DEFENDANT: TONY E. BAKER, JR.
                                                                                                         Judgment-   Page   6 of
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     @f Lump sum payment of $                               due immediately, balance due

                not later than                                   a   Or
                in accordance with             C,    D,          E, or    @F below; or
B           Payment to begin immediately (may be combined with              C,           D, or     OF below); or
C           Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or
D           Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after release 6om imprisonment to a
            term of supervision; or

E           Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     @ Special inshuctions regarding the payment of criminal monetary penalties:
           While on supelvised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his fine.




Unless the coqn h&,expr$ssly ordered otheryisc, if this judgment imposes imprisonment, payment of criminal monetaly penalties is due
during the per~odof imprisonment. All crtmlnal monetary pcnalt~es,except those payments made through the Federal Bureau of Prihons'
Inmate Flnanc~alRespons~h~l~ty Program, are mads to the clerk of the coun.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant's interest in the following property to the United States:



I'aytiien!s shall be applied in !he tbllo\r,ing ordcr: ( I assesment, (2) restitution principal, (3) restitution interest, (4)line principal,
( 5 ) tinc Interest, (6) communlr) resututlon, (7) penalties, and (8) costs. lncludlng cost ot prosecurlon and coun costh.
